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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

ALAN SCHNEIDER, Individually      )
and as Administrator of the Estate of
                                  )
MARY SCHNEIDER, Deceased,         )             CIVIL ACTION NUMBER:
                                  )
               Plaintiff,         )              ______________________
                                  )
vs.                               )
                                  )             JURY TRIAL DEMANDED
TEVA PHARMACEUTICALS USA, )
INC.; ACTAVIS PHARMA, INC.,       )
and TEVA PHARMACEUTICAL           )
INDUSTRIES LIMITED, jointly and )
severally,                        )
                                  )
               Defendants.        )
_________________________________/

                                   COMPLAINT

      COMES NOW the plaintiff in the above-styled cause, by and through his

undersigned attorneys, and for his complaint against the defendants herein named

says, alleges, and avers as follows:

                               Nature of this Action

      1.     This is an action, under and pursuant to Ala. Code § 6-5-410, for

damages for the wrongful death of plaintiff’s decedent Mary Schneider on March

9, 2012. Plaintiff Alan Schneider, the administrator and personal representative of

said decedent’s estate, and said decedent’s surviving spouse, alleges that defects in
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certain Watson fentanyl transdermal system (“FTS”) patches, which were

formulated, developed, designed, manufactured, assembled, distributed, marketed,

and sold by certain of the Material Non-Party Entities as hereafter described, and

as to which the defendants, or any one or combination thereof, are, for purposes of

this action, the successors-in-interest and/or have contractually assumed liability

for the culpable conduct or negligence that proximately caused or contributed to

cause the death of plaintiff’s decedent Mary Schneider.

      2.     Plaintiff’s claims are brought under and pursuant to the Alabama

Extended Manufacturer’s Liability Doctrine (“AEMLD”), the Alabama Products

Liability Act, Ala. Code § 6-5-500, et seq., the law of implied warranty of

merchantability and fitness for a particular purpose, and the common-law of

negligence, wantonness, and recklessness.

      3.     Furthermore, plaintiff Alan Schneider, as the surviving spouse of

Mary Schneider, brings claims for damages individually against the defendants for

loss of consortium, society, and companionship of his wife, plaintiff’s decedent

Mary Schneider, due to the alleged wrongful and culpable acts proximately

resulting in her wrongful death.

                               Jurisdiction and Venue

      4.     Plaintiff Alan Schneider is an adult resident of Shelby County,

Alabama, in this judicial district.

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      5.     Each defendant is a corporation or other business entity organized and

existing under the laws of a state or jurisdiction other than Alabama, and each said

defendant has its principal place of business in a state other than Alabama.

      6.     The amount in controversy, exclusive of interest and costs, exceeds

the sum or value specified by 28 U.S.C. § 1332.

      7.     Venue in this district is proper under 28 U.S.C. § 1391(a) because a

substantial part of the events or omissions giving rise to the claims herein asserted

occurred in this district. Plaintiff’s decedent died in this district.

      8.     Venue also is proper in this district pursuant to and under that certain

Tolling Agreement entered into by parties on February 10, 2016.

      9.     Furthermore, pursuant to and under the said Tolling Agreement,

defendants have agreed that this action and the claims brought herein filed on

February 8, 2018, are timely and that defendants will not raise the statute of

limitations as a defense to the claims herein made.

                             Material Non-Party Entities

      10.    The defective FTS patches at issue in this action were designed,

manufactured, marketed, and distributed by certain Material Non-Party Entities

(hereafter “MNPE”) prior to death of plaintiff’s decedent Mary Schneider. The

named defendants are, for purposes of this action, the successors-in-interest and/or

have contractually assumed liability for the wrongful, culpable, or negligent

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conduct of the MNPE that proximately caused or contributed to cause the death of

plaintiff’s decedent Mary Schneider.

      11.    The MNPE are identified as follows:

             (a).   Actavis, Inc., is or, at the times relevant to this complaint, was a

corporation organized and existing under the laws of the State of Nevada, with its

principal place of business in New Jersey. Prior to January 23, 2013, Actavis was

known as Watson Pharmaceuticals, Inc. Actavis was the parent corporation of

MNPE Watson Pharma, Inc., and Watson Laboratories, Inc. (Nevada), and Watson

Laboratories, Inc. (Delaware).

             (b).   Watson Pharmaceuticals, Inc., is or, at the times relevant to this

complaint, was a corporation organized and existing under the laws of the State of

Nevada, with its principal place of business in, plaintiff believes and avers,

California. Watson Pharmaceuticals, Inc., was the parent corporation of MNPE

Watson Pharma, Inc., and Watson Laboratories, Inc. (Nevada), and Watson

Laboratories, Inc. (Delaware).

             (c).   Watson Pharma, Inc., is or, at the times relevant to this

complaint, was a corporation organized and existing under the laws of the State of

Delaware, with its principal place of business in New Jersey. Watson Pharma was

a subsidiary of MNPE Watson Pharmaceuticals, Inc., and/or Actavis, Inc. Watson




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Pharma is or, at the times relevant to this complaint, was registered and is or was

then actively engaged in business in the State of Alabama.

             (d).   Watson Laboratories, Inc. (Nevada) (“Watson Nevada”), is or,

at the times relevant to this complaint, was a corporation organized and existing

under the laws of the State of Nevada, with its principal place of business in,

plaintiff believes and avers, New Jersey. Watson Nevada was a subsidiary of

MNPE Actavis.

             (e).   Watson Laboratories, Inc. (Delaware) (“Watson Delaware”), is

or, at the times relevant to this complaint was a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business in,

plaintiff believes and avers, Utah. Watson Delaware was a subsidiary of Actavis.

             (f).   Allergan plc (“Allergan”) is foreign business entity organized

and existing under the laws of Ireland, with its principal place of business in

Ireland. Depository shares of Allergan are actively traded on the New York Stock

Exchange. Prior to the acquisition of the “Actavis Generics” business by Teva

Pharmaceutical Industries Limited by Master Purchase Agreement dated July 26,

2015, Allergan acquired some or all of the MNPE and other Actavis entities

involved in the development, design, manufacture, marketing, distribution, and

sale of the FTS patches here at issue. Allergan is engaged in business in the United




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States and this judicial district by and through its wholly-owned subsidiary private

corporation, Allergan USA, Inc.

      12.    In 2017 or thereabouts, defendants Teva Pharmaceutical Industries

Limited, Teva Pharmaceuticals USA, Inc., and Actavis Pharma, Inc., or any one or

any combination thereof, finalized the 2015 acquisition of the “Actavis Generics”

component of the MNPE. Pursuant to that acquisition, defendants, or any one or

any combination thereof, became the successors-in-interest to the MNPE and

contractually or otherwise assumed liability for the death of plaintiff’s decedent

resulting from the Watson FTS patches here at issue.

      13.    Therefore, for purposes of this action, as successors-in-interest and by

the terms of the said acquisition, defendants, or any one or combination thereof,

became and are liable for all damages to which the plaintiff in this action is entitled

resulting from the culpable or negligent conduct of any one or more of the MNPE

that caused or contributed to cause the death of Mary Schneider.

                                        Parties

      14.    Plaintiff Alan Schneider is an adult resident of Shelby County,

Alabama, in this judicial district. Plaintiff brings this action individually and,

under and pursuant to Ala. Code § 6-5-410(a), as the lawfully appointed

administrator and personal representative of the estate of his spouse, Mary

Schneider, deceased.

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       15.    Defendant Teva Pharmaceuticals USA, Inc. (hereafter “Teva USA”) is

a corporation organized and existing under the laws of the State of Delaware, with

its principal place of business in the Commonwealth of Pennsylvania. According to

the most recent SEC Form 20-F (for the calendar year ending December 31, 2016)

filed by defendant Teva Pharmaceutical Industries Limited (the foreign parent

entity), defendant Teva Pharmaceuticals USA, Inc., is the principal wholly-owned

operating subsidiary in the United States of the foreign parent entity. Teva USA is

registered and is actively engaged in business in the State of Alabama and this

judicial district.

       16.    Defendant Actavis Pharma, Inc. (hereafter “Actavis Pharma”) is a

corporation organized and existing under the laws of the State of Delaware, with

its principal place of business in the State of New Jersey. According to the most

recent SEC Form 20-F (for the calendar year ending December 31, 2016) filed by

defendant Teva Pharmaceutical Industries Limited (the foreign parent entity),

defendant Actavis Pharma, is a wholly-owned operating subsidiary in the United

States of the foreign parent entity. Actavis Pharma is registered and is actively

engaged in business in the State of Alabama and this judicial district.

       17.    Defendant Teva Pharmaceutical Industries Limited (hereafter

“TevaPharm”) is a foreign business entity organized and existing under the laws of

Israel, with its principal place of business in Israel. Depository shares of

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TevaPharm are actively traded on the New York Stock Exchange. TevaPharm is

the sole parent entity of both its wholly-owned subsidiary private corporation

defendants Teva USA and Actavis Pharma. Defendant TevaPharm is engaged in

business in the United States and this judicial district by and through its wholly-

owned subsidiaries private corporations, defendants Teva USA and Actavis

Pharma.

                   The Watson Fentanyl Transdermal System

      18.     Each of the MNPE, predecessors to the named defendants for

purposes of this action, controlled and/or participated in the formulation,

development, design, manufacture, assembly, distribution, marketing, and/or

selling of the fentanyl transdermal system (“FTS”) marketed under the Watson

brand at issue in this action (sometimes referred to herein as the “Watson FTS” or

the “product”).

      19.     Fentanyl is a powerful Schedule II controlled synthetic narcotic

(opioid) drug, which has a rapid and highly potent onset and short duration of

action, that is between 80 and 200 times stronger than morphine. Fentanyl is

indicated and used for the relief of severe pain. Fentanyl was first synthesized in

1960, and was initially used as a general anesthetic under the trade name

Sublimaze in the 1960s. In the mid-1990s, fentanyl was widely used for the

palliative treatment of unmanageable severe pain in end-stage cancer patients.

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Thereafter, fentanyl was accepted by clinicians and, as of 2012, it was the most

widely used synthetic opioid in clinical practice.

      20.    The Watson FTS is a multi-layer drug dosing patch that was

formulated, developed, designed, manufactured, assembled, distributed, marketed,

sold, and intended by the MNPE to be applied to the patient’s skin for continuous

release to fentanyl to the patient over a period of 72 hours. The said Watson FTS

patch here at issue consists of five (5) principal components, viz: (1) a single-unit,

non-compartmentalized reservoir containing a quantity of the Schedule II

controlled narcotic drug fentanyl in gel form, the amount of which varies

depending on the dosage level of the particular patch, (2) an adhesive layer for

adhesion of the patch to the patient’s skin, (3) a release membrane between the

adhesive layer and the fentanyl reservoir intended to regulate the release of

fentanyl to the patient’s skin, and thus into the patient’s body fats and, in turn,

bloodstream; (4) a protective layer overlying the adhesive layer that is removed

immediately prior to application to the patient’s skin, and (5) a backing layer

covering the fentanyl reservoir on the outside (non-contact side) of the patch.

      21.    The MNPE formulated, developed, designed, manufactured,

assembled, distributed, marketed, and sold several fentanyl dosage strengths of the

Watson FTS patches. The reservoir of the particular Watson FTS patch at issue in

this case contained five milligrams (5 mg) of fentanyl, and was formulated,

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developed, designed, manufactured, distributed, marketed, sold, intended and

supposed by the MNPE to deliver 50 micrograms (mcg) of fentanyl to the patient

per hour over the course of approximately three (3) days, and is referred to as a “50

mcg/hr” patch.

      22.    The Watson FTS patch is intended by the MNPE to be used for the

particular purpose of delivering a measured quantity of fentanyl to the bloodstream

of patients requiring around-the-clock narcotic treatment of severe pain.

      23.    The MNPE supposed that, as developed, formulated, designed,

manufactured, assembled, distributed, marketed, and sold by them, the Watson

FTS patches will release a certain amount of fentanyl into the patient at a certain

rate (e.g., 50 mcg/hr), and thus produce a certain level of fentanyl in the patient’s

blood for relief of severe pain. In other words, if the Watson FTS functions

properly, the patient should not receive a harmful or toxic dose of fentanyl.

      24.    However, a substantial risk of serious injury or death even from

proper use of the aforesaid Watson FTS patch exists, and said risk was known to

the MNPE when they formulated, developed, designed, manufactured, assembled,

marketed, distributed, and sold the said Watson FTS patch, in that the patch can

leak, rupture, or otherwise fail and cause or allow a dangerous, toxic, or fatal

amount of fentanyl gel to be immediately released into the patient’s body.




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      25.    Indeed, on August 8, 2008, the MNPE issued through the federal Food

and Drug Administration (FDA) a recall of several thousand 75 mcg/hr Watson

FTS patches because a defect in the said patches resulted in said patches “leaking

fentanyl gel” or otherwise failing, thus “potentially exposing patients or caregivers

directly to fentanyl gel.” Furthermore, the said recall notice stated that “exposure

to fentanyl gel may lead to serious adverse events, including respiratory depression

and possible overdose, which may be fatal.”

      26.    The design of the Watson FTS patch at issue in this action is not the

only design for fentanyl transdermal system patches. At the time the instant

Watson FTS patches were formulated, developed, designed, manufactured,

assembled, distributed, marketed, and sold, there existed, and the MNPE knew

there existed, an FTS “matrix” design with fentanyl stored in segregated

compartments in the patch that was and is utilized by other manufacturers.

      27.    Said matrix design is such that, in the event of a puncture, perforation,

or other failure of the fentanyl-containing pouch, an excessive, harmful, toxic or

fatal amount of fentanyl will not be released into the patient’s body, thus rendering

the “matrix” FTS patch a safer, practical, alternative design that was available to

the MNPE.




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                                        Facts

      28.    On March 1, 2012, plaintiff’s decedent Mary Schneider, who was then

59-years-old, consulted and was examined by Dr. J.W. Pitts, Jr., at the ACIPCO

Medical Group (AMG) clinic in Birmingham, Jefferson County, Alabama, for

chronic back pain from which she had suffered since injuring her lower back and

undergoing back surgery in 2001 or 2002.

      29.    Dr. Pitts noted that Mrs. Schneider had received epidural pain blocks

that did not provide her with relief from the pain. Mrs. Schneider asked Dr. Pitts to

refer her to another pain specialist.

      30.    Dr. Pitts further noted that Mrs. Schneider had previously been

prescribed and taken gabapentin (Neurontin) and morphine sulfate for her pain.

      31.    As a result of his examination, Dr. Pitts found Mrs. Schneider to be in

reasonably good overall health with no life-threatening injuries, diseases, or other

conditions, and no conditions that would contraindicate her use of a fentanyl patch.

Dr. Pitts planned to refer Mrs. Schneider to Dr. Jack David Denver, a physical

medicine and rehabilitation specialist in Birmingham.

      32.    Dr. Pitts prescribed for Mrs. Schneider gabapentin 300 mg to be taken

three (3) times a day, and “Duragesic patch 50 mcg # 10 apply every 72 hours.”

On both these drug prescriptions, Dr. Pitts signed “product selection permitted.”




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      33.    On that same day, March 1, 2012, Mrs. Schneider had her said

prescriptions filled at the ACIPCO Medical Group Pharmacy, which along with

filling the said gabapentin prescription, dispensed to Mrs. Schneider ten (10)

Watson FTS 50 mcg patches, in two (2) boxes containing five (5) patches each, lot

number 453658A, and with an expiration date of September 2013.

      34.    Mrs. Schneider used the said Watson FTS patches as prescribed and

according to the Medication Guide created by the MNPE (provided to her by said

pharmacy) from March 1, 2012, until March 9, 2012, never abused or misused the

said Watson FTS patches, and did not use them contrary to the prescribed method.

Mrs. Schneider did not alter, modify, change, or damage any of the said Watson

FTS patches.

      35.    At some time during the day of March 9, 2012, Mrs. Schneider died at

her home in Pelham, Shelby County, Alabama. At the time of her death, Mrs.

Schneider had one (1) of the subject Watson FTS 50 mcg/hr patches properly

affixed to the right lateral flank of her abdomen (a proper placement position for

said patch according to the said Medication Guide).

      36.    Her husband, plaintiff Alan Schneider, discovered Mrs. Schneider’s

lifeless body when he returned home after work on that date, and called the Pelham

emergency response unit. Emergency medical technicians from the Pelham Fire




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Department and officers from the Pelham Police Department responded to Mr.

Schneider’s call.

       37.     Mrs. Schneider’s body was removed from the Schneiders’ residence

and transported to the Shelby County Coroner, and from there to the Alabama

Department of Forensic Sciences (“ADFS”) for autopsy.

       38.     Toxicological analysis of blood (serum) specimens obtained at the

ADFS autopsy of Mrs. Schneider’s body on March 12, 2012, revealed that her

blood (serum) fentanyl level at that time was in the “toxic range.”

                                   Claims for Relief

                                    COUNT ONE

                                  DESIGN DEFECT

       39.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count One as if here set

out in full.

       40.     At all times relevant to this complaint, the MNPE, or any one or

combination thereof, jointly, collectively, and/or severally were engaged in the

business of formulating, developing, and designing the Watson FTS patch

described above, and placed same in the stream of commerce by supplying and/or

selling same pharmacies throughout the United States and particularly in the State

of Alabama.

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      41.    Defendants, or any one or combination thereof, are the successors-in-

interest to or are otherwise responsible for the conduct of the MNPE that were

engaged in the business of formulating, developing, and designing the Watson FTS

patch described above, and placed same in the stream of commerce by supplying

and/or selling same pharmacies throughout the United States and particularly in the

State of Alabama.

      42.    The MNPE engaged in that business and, any one or combination

thereof, jointly, collectively, and/or severally, controlled and/or participated in the

formulation, development, and design of the Watson FTS patch dispensed to

plaintiff’s decedent on March 1, 2012, as alleged hereinabove.

      43.    At the time said Watson FTS patches were dispensed to and used by

plaintiff’s decedent Mary Schneider as alleged, said Watson FTS patches were in

substantially the same condition as when they left the control of the MNPE, and

had not been altered, modified, changed, or damaged after leaving their control.

      44.    Plaintiff’s decedent Mary Schneider used said Watson FTS patches in

the manner intended and directed by the MNPE, and her use thereof in such a

manner was foreseeable, intended, and expected by said MNPE.

      45.    The Watson FTS patches dispensed to plaintiff’s decedent Mary

Schneider on March 1, 2012, as alleged, were defectively formulated, developed,

and designed, were unreasonably dangerous when used as intended, directed, and

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expected by the MNPE, did not meet the reasonable expectations of an ordinary

consumer thereof with respect to safety, in that the said Watson FTS patches were

known, since at least 2008, to leak, rupture, or otherwise fail and cause or permit

excessive and dangerous amounts of extremely potent, powerful, and dangerous

fentanyl gel to be released immediately and delivered to the patient wearing said

patch, thus resulting in an overdose causing serious injury or death to the patient.

Prior to the time of manufacture and distribution of the patch that caused decedent

Mary Schneider’s death, the MNPE knew or should have known that numerous

patients using the said Watson FTS patches had received lethal doses of fentanyl

while using said patches as prescribed through internal studies, wrongful death

lawsuits filed against them, the FDA’s adverse events reporting system, reports of

medical examiners, and other sources.

      46.    Said design defect proximately caused or contributed to cause the

wrongful death of plaintiff’s decedent Mary Schneider on March 9, 2012, as

alleged.

      47.    At the time the said defectively designed Watson FTS patches were

formulated, developed, and designed by the MNPE, there existed and was

available to the MNPE a safer, practical, alternative “matrix” design for said

patches, as described above, but, for reasons unknown, the MNPE did not utilize

the said safer, practical, alternative “matrix” design instead of the Watson FTS

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patches that were dispensed to and used by plaintiff’s decedent Mary Schneider as

heretofore alleged.

       48.     Utilization of the said safer, alternative, practical “matrix” design by

the MNPE probably would have eliminated the design defect herein alleged, so

that the death of plaintiff’s decedent Mary Schneider probably would not have

occurred as it did and as previously alleged.

                                     COUNT TWO

                           MANUFACTURING DEFECT

       49.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Two as if here set

out in full.

       50.     At all times relevant to this complaint, the MNPE, or any one or

combination thereof, jointly, collectively, and/or severally, were engaged in the

business of manufacturing and assembling the Watson FTS patches described

above, and placed same in the stream of commerce by supplying and/or selling

same to pharmacies throughout the United States and particularly in the State of

Alabama.

       51.     Defendants, or any one or any combination thereof, are the

successors-in-interest to or are otherwise responsible for the conduct of the MNPE

that were engaged in the business of manufacturing and assembling the Watson

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FTS patches described above, and placed same in the stream of commerce by

supplying and/or selling same to pharmacies throughout the United States and

particularly in the State of Alabama.

      52.    The MNPE engaged in that said business, when they jointly,

collectively, and/or severally, controlled and/or participated in the manufacture and

assembly of the Watson FTS patches dispensed to plaintiff’s decedent on March 1,

2012, as alleged hereinabove.

      53.    At the time said Watson FTS patches were dispensed to and used by

plaintiff’s decedent Mary Schneider as alleged, said Watson FTS patches were in

substantially the same condition as when they left the control of the MNPE, and

had not been altered, modified, changed, or damaged after leaving their control.

      54.    Plaintiff’s decedent Mary Schneider used said Watson FTS patches in

the manner intended and directed by the MNPE, and her use thereof in such a

manner was foreseeable, intended, and expected by said MNPE.

      55.    The Watson FTS patches dispensed to plaintiff’s decedent Mary

Schneider on March 1, 2012, as alleged, were defectively manufactured and

assembled, were unreasonably dangerous when used as intended, directed, and

expected by the MNPE, did not meet the reasonable expectations of an ordinary

consumer thereof with respect to safety in that one or more components of the said

Watson FTS patches had been nicked, cut, damaged, or otherwise altered or

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changed from the design thereof, to such an extent and degree that said patches

caused or permitted excessive and dangerous amounts of extremely potent,

powerful, and dangerous fentanyl gel to be delivered to the patient wearing said

patch, thus resulting in an overdose causing serious injury or death to the patient.

       56.     Said manufacturing or assembly defect proximately caused or

contributed to cause the wrongful death of plaintiff’s decedent Mary Schneider on

March 9, 2012, as alleged.

                                   COUNT THREE

                   DISTRIBUTION, MARKETING, AND SALE

       57.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Three as if here set

out in full.

       58.     The MNPE, or any one or combination thereof, jointly, collectively,

and/or severally, controlled and/or participated in the distribution, marketing, and

selling of the Watson FTS patches dispensed to plaintiff’s decedent Mary

Schneider on March 1, 2012, and had knowledge of, and/or participated in the

formulation, development, design, manufacture, and/or assembly of the said

Watson FTS patches.

       59.     Defendants, or any one or any combination thereof, are the

successors-in-interest to or are otherwise responsible for the conduct of the MNPE

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that controlled and/or participated in the distribution, marketing, and selling of the

Watson FTS patches dispensed to plaintiff’s decedent Mary Schneider on March 1,

2012, and had knowledge of, and/or participated in the formulation, development,

design, manufacture, and/or assembly of the said Watson FTS patches.

       60.     Said Watson FTS patches were defective and unreasonably dangerous

to the ultimate consumer (patient) by reason of the formulation, development,

design, manufacture, and/or assembly defects heretofore alleged.

       61.     The MNPE were also the manufacturer or assembler of the said

Watson FTS patches, and/or exercised substantial control over the design, testing,

manufacture, packaging, or labeling thereof, and/or altered or modified the said

Watson FTS patches.

       62.     Said defects in the Watson FTS patches that were distributed,

marketed and/or sold by the MNPE proximately caused or contributed to cause the

wrongful death of plaintiff’s decedent Mary Schneider on March 9, 2012, as

alleged.

                                   COUNT FOUR

                      FAILURE TO ADEQUATELY WARN

       63.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Four as if here set

out in full.

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      64.    The MNPE, or any one or combination thereof, jointly, collectively,

and/or severally, directed the marketing and advertising for the said Watson FTS

patches directly to patients, physicians, and pharmacies.

      65.    Defendants, or any one or any combination thereof, are the

successors-in-interest to or are otherwise responsible for the conduct of the MNPE

that directed the marketing and advertising for the said Watson FTS patches

directly to patients, physicians, and pharmacies.

      66.    The MNPE knew or should have known that the said Watson FTS

patches were unreasonably dangerous when used in the intended and ordinary

manner.

      67.    Said MNPE had a duty to adequately warn patients, physicians, and

pharmacies of the unreasonably dangerous design and/or condition of the Watson

FTS patches at issue in this action.

      68.    Said MNPE breached the duty and failed to adequately warn

plaintiff’s decedent Mary Schneider and/or her physician and/or the pharmacy

dispensing said product of the unreasonably dangerous design and/or condition of

the Watson FTS patches at issue in this action, and/or failed to inform plaintiff’s

decedent Mary Schneider and/or her physician and/or the pharmacy of the

availability of a product with a safer, alternative, and practical “matrix” design

described above.

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       69.     Said MNPE further negligently failed to inform plaintiff’s decedent

Mary Schneider and/or her physician and/or the pharmacy as to the advantages,

decreased risk, enhanced safety, and benefits of the “matrix” fentanyl gel patch, as

opposed to the Watson FTS “reservoir” patch.

       70.     Said MNPE’ failure to adequately warn plaintiff’s decedent Mary

Schneider and/or her physician and/or the pharmacy dispensing said product of the

unreasonably dangerous design and/or condition of the Watson FTS patches at

issue in this action, and/or said MNPE’ failure to inform plaintiff’s decedent Mary

Schneider and/or her physician and/or the pharmacy of the availability of a product

with a safer, alternative, and practical “matrix” design, proximately caused or

contributed to cause the wrongful death of plaintiff’s decedent Mary Schneider on

March 9, 2012, as alleged.

                                    COUNT FIVE

             NEGLIGENCE, WANTONNESS, AND RECKLESSNESS

       71.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Five as if here set

out in full.

       72.     The MNPE, or any one or combination thereof, had a duty to exercise

ordinary and/or reasonable care in the formulation, development, design, assembly,

manufacturing, marketing, distribution, and sale of the product at issue in this

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action, viz: the Watson FTS patches described above, including, but not limited to,

a duty to assure that the said patches did not cause or contribute to cause, while

being properly and appropriately used by a patient, the death of the patient from an

overdose of fentanyl.

      73.    Defendants, or any one or any combination thereof, are the

successors-in-interest to or are otherwise responsible for the conduct of the MNPE

that had a duty to exercise ordinary and/or reasonable care in the formulation,

development, design, assembly, manufacturing, marketing, distribution, and sale of

the product at issue in this action, viz: the Watson FTS patches described above,

including, but not limited to, a duty to assure that the said patches did not cause or

contribute to cause, while being properly and appropriately used by a patient, the

death of the patient from an overdose of fentanyl.

      74.    The MNPE, or any one or combination thereof, jointly and severally,

negligently and/or wantonly and with a reckless disregard of the consequences of

its wrongful and culpable acts or omissions breached that duty in the formulation,

development, design, assembly, manufacturing, marketing, sale, and distribution of

the said Watson FTS patches because said patches created, and the MNPE knew or

reasonably should have known that the said patches created, a high risk that the

death of the patient from an accidental overdose of fentanyl would occur when the

patches were used properly and appropriately by a patient as alleged hereinabove.

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       75.     The negligence and/or wantonness and/or recklessness of the MNPE,

or any one or combination thereof, combined and concurred to proximately cause

or contribute to cause the death of plaintiff’s decedent Mary Schneider.

                                     COUNT SIX

      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       76.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Six as if here set out

in full.

       77.     The MNPE, or any one or combination thereof, were merchants or

sellers with respect to the product at issue in this action, viz: the Watson FTS

patches described above, and distributed, marketed, and/or sold the product at issue

in this action.

       78.     Defendants, , or any one or combination thereof, are the successors-

in-interest to or are otherwise responsible for the conduct of the MNPE that were

merchants or sellers with respect to the product at issue in this action, viz: the

Watson FTS patches described above, and distributed, marketed, and/or sold the

product at issue in this action.

       79.     The said Watson FTS patches were impliedly warranted by the MNPE

to be merchantable, free of defects in formulation, development, design,




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manufacture, assembly, distribution, marketing, and sale, and reasonably safe for

use as directed or intended by the MNPE.

       80.     The said product was used by the plaintiff’s decedent Mary Schneider

for the ordinary purpose for which such products are used, and as intended,

expected, or supposed by the MNPE.

       81.     The said product at issue in this action was defective, or

unmerchantable in that same was not fit for the ordinary purposes for which such

products are used as alleged hereinabove.

       82.     The said defects in the product and breach of said implied warranty of

merchantability proximately caused or contributed to cause the wrongful death of

plaintiff’s decedent Mary Schneider as alleged hereinabove.

                                   COUNT SEVEN

             BREACH OF IMPLIED WARRANTY OF FITNESS FOR
                       A PARTICULAR PURPOSE

       83.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Seven as if here set

out in full.

       84.     The said Watson FTS patches were impliedly warranted by the MNPE

to be fit for the particular purposes for which they were formulated, developed,

designed, manufactured, assembled, distributed, marketed, and sold by the

defendants, and to further be free of defects in formulation, development, design,
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manufacture, and assembly, and reasonably safe for use as directed or intended by

defendants.

      85.     Defendants, or any one or any combination thereof, are successors-in-

interest to or are otherwise responsible for the conduct of the MNPE that impliedly

warranted that the said Watson FTS patches were fit for the particular purposes for

which they were formulated, developed, designed, manufactured, assembled,

distributed, marketed, and sold by the MNPE, and that they were free of defects in

formulation, development, design, manufacture, and assembly, and reasonably safe

for use as directed or intended by the MNPE.

      86.     The MNPE, or any one or combination thereof, knew or had reason to

know of the particular purpose to which plaintiff’s decedent Mary Schneider would

reasonably and foreseeably use the said Watson FTS patches.

      87.     The MNPE, or any one or combination thereof, had reason to know

that plaintiff’s decedent Mary Schneider and/or her physician and/or the dispensing

pharmacy were relying on the defendants’ skill and judgment to furnish an

appropriate, safe, and effective product for that purpose.

      88.     Plaintiff’s decedent Mary Schneider and/or her physician and/or the

dispensing pharmacy, in fact, relied upon the skill or judgment of the MNPE.




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       89.     The said product at issue in this action and properly used by plaintiff’s

decedent Mary Schneider was defective and not fit for the particular purpose for

which it was sold as alleged hereinabove.

       90.     The said defects in the product and breach of said implied warranty of

fitness for a particular purpose proximately caused or contributed to cause the

wrongful death of plaintiff’s decedent Mary Schneider as alleged hereinabove.

                                   COUNT EIGHT

                    LOSS OF CONSORTIUM AND SOCIETY

       91.     Plaintiff realleges each and every allegation and paragraph of this

Complaint and incorporates same by reference into this Count Eight as if here set

out in full.

       92.     As a proximate result and consequence of the wrongful, culpable, or

negligent conduct, actions, and omissions of the MNPE as alleged hereinabove,

plaintiff Alan Schneider was caused to be permanently deprived of the society,

consortium, and companionship of his wife, plaintiff’s decedent Mary Schneider,

and was caused and will be caused in the future to suffer emotional distress and

mental anguish as a result of the wrongful death of his wife, plaintiff’s decedent

Mary Schneider.




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      93.    Defendants, or any one or combination thereof, are the successors-in-

interest to or are otherwise responsible for the wrongful, culpable, or negligent

conduct, actions, and omissions of the MNPE as alleged hereinabove.

                                 Prayer for Relief

      WHEREFORE, plaintiff Alan Schneider demands judgment against

defendants Teva Pharmaceuticals USA, Inc., Actavis Pharma, Inc., and Teva

Pharmaceutical Industries Limited, jointly and severally, as follows:

      (a).   In an amount of damages determined by the jury sufficient to punish

the defendants for the enormity of the wrong committed in causing the wrongful

death of plaintiff’s decedent Mary Schneider, and that will deter the defendants and

others from committing similar wrongful and culpable acts in the future;

      (b).   Plaintiff Alan Schneider, individually, demands judgment against said

defendants, jointly and severally, in an amount of damages sufficient to adequately

compensate him for the wrongful loss of the consortium, society and

companionship of his wife, Mary Schneider; and

      (c).   For an award of all costs, litigation expenses, pre-judgment interest,

post-judgment interest, and other amounts to which he is entitled.

                                   Jury Demand

      Plaintiff demands trial by jury of all issues in this cause properly triable

thereby.

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                                     /s/ Michael Allsup____________________
                                     Michael Allsup (ASB-3951-L42M)
                                     One of the Plaintiff’s Attorneys
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                                     /s/ Joseph J. Siegelman_______________
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Notice of Lawsuit and Request to Waive Service of Summons (AO 398) and
Waiver of the Service of Summons (AO 399) to be mailed to all defendants at the
following addresses:

Jeffrey F. Peck
Ulmer & Berne, LLP
600 Vine Street, Suite 2800
Cincinnati, Ohio 45202-2409

Teva Pharmaceuticals USA, Inc.
c/o Corporate Creations Network, Inc., Registered Agent
6 Office Park Circle # 100
Mountain Brook, Alabama 35223

Actavis Pharma, Inc.
c/o Corporate Creations Network, Inc., Registered Agent
6 Office Park Circle # 100
Mountain Brook, Alabama 35223

Teva Pharmaceutical Industries Limited
Post Office Box 3190
Petach Tikva 4951033, Israel




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